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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

RYAN PFLIPSEN,                              )
                                            )
       Plaintiff,                           )
                                            )       CIVIL ACTION
vs.                                         )
                                            )       FILE No. 5:20-cv-497
PBH, INC. d/b/a BANDERA                     )
CROSSING,                                   )
                                            )
       Defendant.                           )

                                       COMPLAINT

       COMES NOW, RYAN PFLIPSEN, by and through the undersigned counsel, and

files this, his Complaint against Defendant PBH, INC. d/b/a BANDERA CROSSING,

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and

the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof,

Plaintiff respectfully shows this Court as follows:

                                      JURISDICTION

       1.       This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendant’s failure to remove physical barriers to access and violations of Title III of the

ADA.

                                          PARTIES

       2.       Plaintiff RYAN PFLIPSEN (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in San Antonio, Texas


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(Bexar County).

         3.       Plaintiff is disabled as defined by the ADA.

         4.       Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

         5.       Plaintiff uses a wheelchair for mobility purposes.

         6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

         7.       Defendant PBH, INC. d/b/a BANDERA CROSSING (hereinafter “PBH,

INC.”) is a Texas for profit corporation that transacts business in the state of Texas and

within this judicial district.

         8.       PBH, INC. may be properly served with process via its registered agent for

service, to wit: Leonard Holzman, 10924 Vance Jackson, #306, San Antonio, Texas

78230.

                                  FACTUAL ALLEGATIONS

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       9.       On or about May 11, 2019, Plaintiff was a customer at “Wing Daddy Sauce

House” a business located at 6430 Bandera Road, San Antonio, Texas 78238, referenced

herein as the “Wing Daddy.”

       10.      PBH, INC. is the owner or co-owner of the real property and improvements

that the Wing Daddy is situated upon and that is the subject of this action, referenced

herein as the “Property.”

       11.      Plaintiff lives approximately 7 miles from the Wing Daddy and Property.

       12.      Plaintiff’s access to the business(es) located at 6430 Bandera Road, San

Antonio, Bexar County Property Identification number 217668 (“the Property”), and/or

full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of

his disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Wing Daddy and Property, including those set forth in this

Complaint.

       13.      Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property is made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       14.      Plaintiff intends to revisit the Wing Daddy and Property to purchase goods

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and/or services.

       15.     Plaintiff travelled to the Wing Daddy and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Wing

Daddy and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a result of

the illegal barriers to access present at the Wing Daddy and Property.


                                  COUNT I
                      VIOLATIONS OF THE ADA AND ADAAG

       16.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a
               whole is growing older;

       (ii)    historically, society has tended to isolate and segregate individuals
               with disabilities, and, despite some improvements, such forms of
               discrimination against individuals with disabilities continue to be a
               serious and pervasive social problem;

       (iii)   discrimination against individuals with disabilities persists in such
               critical areas as employment, housing public accommodations,
               education,        transportation,    communication,        recreation,
               institutionalization, health services, voting, and access to public
               services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, overprotective rules and policies, failure to
               make modifications to existing facilities and practices, exclusionary
               qualification standards and criteria, segregation, and relegation to

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              lesser service, programs, activities, benefits, jobs, or other
              opportunities; and

       (v)    the continuing existence of unfair and unnecessary discrimination
              and prejudice denies people with disabilities the opportunity to
              compete on an equal basis and to pursue those opportunities for
              which our free society is justifiably famous, and costs the United
              States billions of dollars in unnecessary expenses resulting from
              dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.    Congress explicitly stated that the purpose of the ADA was to:

       (i)    provide a clear and comprehensive national mandate for the
              elimination of discrimination against individuals with disabilities;

       (ii)   provide a clear, strong, consistent, enforceable standards addressing
              discrimination against individuals with disabilities; and

              *****

       (iv)   invoke the sweep of congressional authority, including the power to
              enforce the fourteenth amendment and to regulate commerce, in
              order to address the major areas of discrimination faced day-to-day
              by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.    The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.    The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.    The Wing Daddy is a public accommodation and service establishment.

       22.    The Property is a public accommodation and service establishment.


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       23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Wing Daddy must be, but is not, in compliance with the ADA and

ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the Wing

Daddy and the Property in his capacity as a customer of the Wing Daddy and Property

and as an independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Wing Daddy and Property that preclude and/or limit his access

to the Wing Daddy and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers, conditions

and ADA violations more specifically set forth in this Complaint.

       28.    Plaintiff intends to visit the Wing Daddy and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Wing Daddy and

Property and as an independent advocate for the disabled, but will be unable to fully do

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so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Wing Daddy and Property that preclude and/or limit his

access to the Wing Daddy and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers, conditions

and ADA violations more specifically set forth in this Complaint.

       29.    Defendant has discriminated against Plaintiff (and others with disabilities)

by denying his access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Wing Daddy and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.    Defendant will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendant is compelled to remove all physical barriers that

exist at the Wing Daddy and Property, including those specifically set forth herein, and

make the Wing Daddy and Property accessible to and usable by Plaintiff and other

persons with disabilities.

       31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Wing Daddy and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and accommodations

of the Wing Daddy and Property include, but are not limited to:

       (a)    ACCESSIBLE ELEMENTS:



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(i) Near Wing Daddy, the accessible parking spaces and associated access aisle

    have a surface slope in excess of 1:48 in violation of section 502.4 of the 2010

    ADAAG standards and are not level. This violation made it dangerous and

    difficult for Plaintiff to exit and enter their vehicle while parked at the

    Property.

(ii) Near Wing Daddy, the access aisle to the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation made it dangerous

    and difficult for Plaintiff to exit and enter their vehicle while parked at the

    Property. In addition, the accessible curb ramp is improperly protruding into

    the access aisle of the accessible parking space in violation of section 406.5 of

    the 2010 ADAAG Standards. This violation made it difficult and dangerous

    for Plaintiff to exit/enter their vehicle.

(iii)   Near Wing Daddy, the access aisle has excessive vertical rise and is in

    violation of section 303.2 and 502.4 of the 2010 ADAAG standards. This

    violation made it dangerous and difficult for Plaintiff to exit and enter their

    vehicle while parked at the Property.

(iv)    Near Unit 70, the accessible parking spaces have a surface slope in excess

    of 1:48 in violation of section 502.4 of the 2010 ADAAG standards and are not

    level. This violation made it dangerous and difficult for Plaintiff to exit and

    enter their vehicle while parked at the Property.



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(v) Near Unit 70, the accessible parking space has a cross-slope in excess of 1:48

    in violation of section 502.4 of the 2010 ADAAG standards and is not level.

    This violation made it dangerous and difficult for Plaintiff to exit and enter

    their vehicle while parked at the Property.

(vi)    Near Unit 70, the access aisles to the accessible parking spaces are not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation made it dangerous

    and difficult for Plaintiff to exit and enter their vehicle while parked at the

    Property. In addition, the accessible curb ramp is improperly protruding into

    the access aisle of the accessible parking space in violation of section 406.5 of

    the 2010 ADAAG Standards. This violation made it difficult and dangerous

    for Plaintiff to exit/enter their vehicle.

(vii)   Near Unit 70, the accessible parking spaces are not level due to the

    presence of accessible ramp side flares in the accessible parking spaces in

    violation of section 502.4 of the 2010 ADAAG standards. This violation made

    it dangerous and difficult for Plaintiff to exit and enter their vehicle while

    parked at the Property.

(viii) Due to the presence of multiple flights of stairs blocking the exterior

    accessible route, the Property lacks a single accessible route connecting

    accessible facilities, accessible elements and/or accessible spaces of the

    Property in violation of section 206.2.2 of the 2010 ADAAG standards. This

    violation made it difficult for Plaintiff to access public features of the Property.

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(ix)    Near Unit 92, the access aisle to the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation made it dangerous

    and difficult for Plaintiff to exit and enter their vehicle while parked at the

    Property. In addition, the accessible curb ramp is improperly protruding into

    the access aisle of the accessible parking space in violation of section 406.5 of

    the 2010 ADAAG Standards. This violation made it difficult and dangerous

    for Plaintiff to exit/enter their vehicle.

(x) Near Unit 92, there is an excessive vertical rise at the top of the accessible

    ramp in violation of Section 303.2 and 405.4 of the 2010 ADAAG

    standards. This violation made it dangerous and difficult for Plaintiff to access

    public features of the Property.

(xi)    Near Unit 92, the Property has an accessible ramp leading from the

    accessible parking space to the accessible entrances with a slope exceeding

    1:12 in violation of section 405.2 of the 2010 ADAAG standards. This

    violation made it dangerous and difficult for Plaintiff to access the units of the

    Property.

(xii)   Near Unit 92, the accessible ramp side flares have a slope in excess of 1:10

    in violation of section 406.3 of the 2010 ADAAG standards. This violation

    made it dangerous and difficult for Plaintiff to access the units of the Property.

(xiii) Near Unit 110, the access aisle and the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle and the accessible

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   parking space in violation of section 502.4 of the 2010 ADAAG standards.

   This violation made it dangerous and difficult for Plaintiff to exit and enter

   their vehicle while parked at the Property.

(xiv) Near Unit 110, the accessible ramp side flares have a slope in excess of

   1:10 in violation of section 406.3 of the 2010 ADAAG standards. This

   violation made it dangerous and difficult for Plaintiff to access the units of the

   Property.

(xv)   Near Unit 110, there is an excessive vertical rise at the top of the accessible

   ramp in violation of Section 303.2 and 405.4 of the 2010 ADAAG

   standards. This violation made it dangerous and difficult for Plaintiff to access

   public features of the Property.

(xvi) Near Unit 110, there is an accessible parking space that has a cross-slope in

   excess of 1:48 in violation of section 502.4 of the 2010 ADAAG standards and

   is not level. This violation made it dangerous and difficult for Plaintiff to exit

   and enter their vehicle while parked at the Property.

(xvii) Near Unit 125, the access aisle and the accessible parking spaces are not

   level due to the presence of an accessible ramp in the access aisle and the

   accessible parking spaces in violation of section 502.4 of the 2010 ADAAG

   standards. This violation made it dangerous and difficult for Plaintiff to exit

   and enter their vehicle while parked at the Property.

(xviii) Near Unit 125, there is an excessive vertical rise at the top of the accessible

   ramp in violation of Section 303.2 and 405.4 of the 2010 ADAAG

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   standards. This violation made it dangerous and difficult for Plaintiff to access

   public features of the Property.

(xix) Near Unit 125, the Property has an accessible ramp leading from the

   accessible parking space to the accessible entrances with a slope exceeding

   1:12 in violation of section 405.2 of the 2010 ADAAG standards. This

   violation made it dangerous and difficult for Plaintiff to access the units of the

   Property.

(xx)   Near Unit 142, one of the accessible parking spaces has a slope in excess of

   1:48 in violation of section 502.4 of the 2010 ADAAG standards and is not

   level. This violation made it dangerous and difficult for Plaintiff to exit and

   enter their vehicle while parked at the Property.

(xxi) Near Unit 142, the access aisle to the accessible parking space is not level

   due to the presence of an accessible ramp in the access aisle in violation of

   section 502.4 of the 2010 ADAAG standards. This violation made it dangerous

   and difficult for Plaintiff to exit and enter their vehicle while parked at the

   Property. In addition, the accessible curb ramp is improperly protruding into

   the access aisle of the accessible parking space in violation of section 406.5 of

   the 2010 ADAAG Standards. This violation made it difficult and dangerous

   for Plaintiff to exit/enter their vehicle.

(xxii) Near Unit 142, there is an excessive vertical rise at the top of the accessible

   ramp in violation of Section 303.2 and 405.4 of the 2010 ADAAG



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            standards. This violation made it dangerous and difficult for Plaintiff to access

            public features of the Property.

      (xxiii) Multiple units of the Property, including Unit 130, have a front door with

            improper hardware in violation of section 309.4 of the 2010 ADAAG

            standards. This violation made it difficult for Plaintiff to access the units of the

            Property.

      (xxiv) Defendants fail to adhere to a policy, practice and procedure to ensure that

            all facilities are readily accessible to and usable by disabled individuals.

      32.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Wing Daddy

and Property.

      33.       Plaintiff requires an inspection of Wing Daddy and Property in order to

determine all of the discriminatory conditions present at the Wing Daddy and Property in

violation of the ADA.

      34.       The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

      35.       All of the violations alleged herein are readily achievable to modify to

bring the Wing Daddy and Property into compliance with the ADA.

      36.       Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Wing Daddy and Property is readily achievable

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because the nature and cost of the modifications are relatively low.

          37.   Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Wing Daddy and Property is readily achievable

because Defendants have the financial resources to make the necessary modifications.

          38.   Upon information and good faith belief, the Wing Daddy and Property have

been altered since 2010.

          39.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

          40.   Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Wing Daddy and Property, including those alleged

herein.

          41.   Plaintiff’s requested relief serves the public interest.

          42.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

          43.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

          44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant to

modify the Wing Daddy and Property to the extent required by the ADA.

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WHEREFORE, Plaintiff prays as follows:

(a)   That the Court find Wing Daddy in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing their discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Wing Daddy to make it

      readily accessible to and useable by individuals with disabilities to the

      extent required by the ADA;

(d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation

      expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable in light

      of the circumstances.

                                  Dated: April 23, 2020.

                                  Respectfully submitted,

                                  /s/ Dennis R. Kurz
                                  Dennis R. Kurz
                                  Attorney-in-Charge for Plaintiff
                                  Texas State Bar ID No. 24068183
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